             Case 18-10083-BLS         Doc 21-1     Filed 03/09/18     Page 1 of 10



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In the Matter of:                                    }
                                                     }       Case No. 18-10083
Allen Cuff
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }

                                  NOTICE TO CREDITORS


Citizens Bank
PO Box 7092
Bridgeport, CT 06601

        You have been added as a creditor in the above-captioned matter. You should be aware of
the following:

       (a) You have the right to file complaints under 11 U.S.C. Section 523 and objection to the
           Debtor(s) claim of exemption within thirty (30) days of receipt of the attached papers,
           or within the time set for the filing of such complaints or objections by creditors
           previously scheduled, (as noted in the Order for Meeting of Creditors attached hereto),
           whichever is later.

       (b) You have the right to file a Proof of Claim (attached) within thirty (30) days of service
           of the papers required by this Order or within the time set for the filing of Proofs of
           Claim by creditors previously scheduled (See Notice of Meeting of Creditors),
           whichever is later.



                                                     BLAKELY, GREGORY & PAPPOULIS



                                                     By:/s/ Tara A. Blakely
                                                        Tara A. Blakely, Esquire
                                                        Attorney for Debtor:
                                                        1006 College Rd., Ste 201
                                                        Dover, DE 19904
                                                        302-672-7217
                Case 18-10083-BLS     Doc 21-1     Filed 03/09/18    Page 2 of 10




STATE OF DELAWARE :
                   :
COUNTY OF KENT    :

           BE IT REMEMBERED that on this 9th day of March, 2018, personally appeared

before me the undersigned, the Subscriber, a Notary Public for the State and County aforesaid,

Carrie Phillos, who, being by me duly sworn according to law, depose and says that she is

employed in the offices of Blakely, Gregory & Pappoulis, 1006 College Road, Suite 201, Dover,

DE 19904, and that on the above date she caused to be deposited in the mail the attached papers

addressed to:


       Michael B. Joseph, Esquire
       Bankruptcy Trustee
       824 Market Street, Suite 905
       P.O. Box 1350
       Wilmington, DE 19899

       Allen Cuff
       1100 Stoney Brook Circle
       Unit 1101
       Rehoboth Beach, DE 19971

       Citizens Bank
       PO Box 7092
       Bridgeport, CT 06601



                                            _/s/ Carrie Phillos_



SWORN AND SUBSCRIBED before me the day, month and year aforesaid.



                                            _/s/ Tara Blakely_
                                            Tara Blakely
             Case 18-10083-BLS         Doc 21-1     Filed 03/09/18     Page 3 of 10



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In the Matter of:                                    }
                                                     }       Case No. 18-10083
Allen Cuff
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }

                                  NOTICE TO CREDITORS


Comcast Cable Communications
1 Comcast Center
Philadelphia, PA 19103

        You have been added as a creditor in the above-captioned matter. You should be aware of
the following:

       (a) You have the right to file complaints under 11 U.S.C. Section 523 and objection to the
           Debtor(s) claim of exemption within thirty (30) days of receipt of the attached papers,
           or within the time set for the filing of such complaints or objections by creditors
           previously scheduled, (as noted in the Order for Meeting of Creditors attached hereto),
           whichever is later.

       (b) You have the right to file a Proof of Claim (attached) within thirty (30) days of service
           of the papers required by this Order or within the time set for the filing of Proofs of
           Claim by creditors previously scheduled (See Notice of Meeting of Creditors),
           whichever is later.



                                                     BLAKELY, GREGORY & PAPPOULIS



                                                     By:/s/ Tara A. Blakely
                                                        Tara A. Blakely, Esquire
                                                        Attorney for Debtor:
                                                        1006 College Rd., Ste 201
                                                        Dover, DE 19904
                                                        302-672-7217
                Case 18-10083-BLS     Doc 21-1     Filed 03/09/18    Page 4 of 10




STATE OF DELAWARE :
                   :
COUNTY OF KENT    :

           BE IT REMEMBERED that on this 9th day of March, 2018, personally appeared

before me the undersigned, the Subscriber, a Notary Public for the State and County aforesaid,

Carrie Phillos, who, being by me duly sworn according to law, depose and says that she is

employed in the offices of Blakely, Gregory & Pappoulis, 1006 College Road, Suite 201, Dover,

DE 19904, and that on the above date she caused to be deposited in the mail the attached papers

addressed to:


       Michael B. Joseph, Esquire
       Bankruptcy Trustee
       824 Market Street, Suite 905
       P.O. Box 1350
       Wilmington, DE 19899

       Allen Cuff
       1100 Stoney Brook Circle
       Unit 1101
       Rehoboth Beach, DE 19971

       Comcast Cable Communications
       1 Comcast Center
       Philadelphia, PA 19103


                                            _/s/ _Carrie Phillos



SWORN AND SUBSCRIBED before me the day, month and year aforesaid.



                                            _/s/ Tara Blakely_
                                            Tara Blakely
             Case 18-10083-BLS         Doc 21-1     Filed 03/09/18     Page 5 of 10



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In the Matter of:                                    }
                                                     }       Case No. 18-10083
Allen Cuff
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }

                                  NOTICE TO CREDITORS


Creekwood Condo Association
c/o Chad J Toms, Esuire
Whiteford Taylor and Preston LLC
405 North King Street Ste 500
Wilmington, DE 19801

        You have been added as a creditor in the above-captioned matter. You should be aware of
the following:

       (a) You have the right to file complaints under 11 U.S.C. Section 523 and objection to the
           Debtor(s) claim of exemption within thirty (30) days of receipt of the attached papers,
           or within the time set for the filing of such complaints or objections by creditors
           previously scheduled, (as noted in the Order for Meeting of Creditors attached hereto),
           whichever is later.

       (b) You have the right to file a Proof of Claim (attached) within thirty (30) days of service
           of the papers required by this Order or within the time set for the filing of Proofs of
           Claim by creditors previously scheduled (See Notice of Meeting of Creditors),
           whichever is later.



                                                     BLAKELY, GREGORY & PAPPOULIS



                                                     By:/s/ Tara A. Blakely
                                                        Tara A. Blakely, Esquire
                                                        Attorney for Debtor:
                                                        1006 College Rd., Ste 201
                                                        Dover, DE 19904
                                                        302-672-7217
                Case 18-10083-BLS     Doc 21-1     Filed 03/09/18    Page 6 of 10




STATE OF DELAWARE :
                   :
COUNTY OF KENT    :

           BE IT REMEMBERED that on this 9th day of March, 2018, personally appeared

before me the undersigned, the Subscriber, a Notary Public for the State and County aforesaid,

Carrie Phillos, who, being by me duly sworn according to law, depose and says that she is

employed in the offices of Blakely, Gregory & Pappoulis, 1006 College Road, Suite 201, Dover,

DE 19904, and that on the above date she caused to be deposited in the mail the attached papers

addressed to:


       Michael B. Joseph, Esquire
       Bankruptcy Trustee
       824 Market Street, Suite 905
       P.O. Box 1350
       Wilmington, DE 19899

       Allen Cuff
       1100 Stoney Brook Circle
       Unit 1101
       Rehoboth Beach, DE 19971

       Creekwood Condo Association
       c/o Chad J Toms, Esuire
       Whiteford Taylor and Preston LLC
       405 North King Street Ste 500
       Wilmington, DE 19801


                                            _/s/ Carrie Phillos_



SWORN AND SUBSCRIBED before me the day, month and year aforesaid.



                                            _/s/ Tara Blakely_
                                            Tara Blakely
             Case 18-10083-BLS         Doc 21-1     Filed 03/09/18     Page 7 of 10



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In the Matter of:                                    }
                                                     }       Case No. 18-10083
Allen Cuff
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }

                                  NOTICE TO CREDITORS


Debtor Recovery Solutions
6800 Jericho Turn Pike Suite 113E
Syosset, NY 11791

        You have been added as a creditor in the above-captioned matter. You should be aware of
the following:

       (a) You have the right to file complaints under 11 U.S.C. Section 523 and objection to the
           Debtor(s) claim of exemption within thirty (30) days of receipt of the attached papers,
           or within the time set for the filing of such complaints or objections by creditors
           previously scheduled, (as noted in the Order for Meeting of Creditors attached hereto),
           whichever is later.

       (b) You have the right to file a Proof of Claim (attached) within thirty (30) days of service
           of the papers required by this Order or within the time set for the filing of Proofs of
           Claim by creditors previously scheduled (See Notice of Meeting of Creditors),
           whichever is later.



                                                     BLAKELY, GREGORY & PAPPOULIS



                                                     By:/s/ Tara A. Blakely
                                                        Tara A. Blakely, Esquire
                                                        Attorney for Debtor:
                                                        1006 College Rd., Ste 201
                                                        Dover, DE 19904
                                                        302-672-7217
                Case 18-10083-BLS     Doc 21-1     Filed 03/09/18    Page 8 of 10




STATE OF DELAWARE :
                   :
COUNTY OF KENT    :

           BE IT REMEMBERED that on this 9th day of March, 2018, personally appeared

before me the undersigned, the Subscriber, a Notary Public for the State and County aforesaid,

Carrie Phillos, who, being by me duly sworn according to law, depose and says that she is

employed in the offices of Blakely, Gregory & Pappoulis, 1006 College Road, Suite 201, Dover,

DE 19904, and that on the above date she caused to be deposited in the mail the attached papers

addressed to:


       Michael B. Joseph, Esquire
       Bankruptcy Trustee
       824 Market Street, Suite 905
       P.O. Box 1350
       Wilmington, DE 19899

       Allen Cuff
       1100 Stoney Brook Circle
       Unit 1101
       Rehoboth Beach, DE 19971

       Debtor Recovery Solutions
       6800 Jericho Turn Pike Suite 113E
       Syosset, NY 11791


                                            _/s/ Carrie Phillos_



SWORN AND SUBSCRIBED before me the day, month and year aforesaid.



                                            _/s/ Tara Blakely_
                                            Tara Blakely
             Case 18-10083-BLS         Doc 21-1     Filed 03/09/18     Page 9 of 10



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In the Matter of:                                    }
                                                     }       Case No. 18-10083
Allen Cuff
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }

                                  NOTICE TO CREDITORS


HSBC Bank
P.O. Box 9
Buffalo, NY 14240

        You have been added as a creditor in the above-captioned matter. You should be aware of
the following:

       (a) You have the right to file complaints under 11 U.S.C. Section 523 and objection to the
           Debtor(s) claim of exemption within thirty (30) days of receipt of the attached papers,
           or within the time set for the filing of such complaints or objections by creditors
           previously scheduled, (as noted in the Order for Meeting of Creditors attached hereto),
           whichever is later.

       (b) You have the right to file a Proof of Claim (attached) within thirty (30) days of service
           of the papers required by this Order or within the time set for the filing of Proofs of
           Claim by creditors previously scheduled (See Notice of Meeting of Creditors),
           whichever is later.



                                                     BLAKELY, GREGORY & PAPPOULIS



                                                     By:/s/ Tara A. Blakely
                                                        Tara A. Blakely, Esquire
                                                        Attorney for Debtor:
                                                        1006 College Rd., Ste 201
                                                        Dover, DE 19904
                                                        302-672-7217
            Case 18-10083-BLS         Doc 21-1    Filed 03/09/18     Page 10 of 10




STATE OF DELAWARE :
                   :
COUNTY OF KENT    :

           BE IT REMEMBERED that on this 9th day of Mach, 2018, personally appeared

before me the undersigned, the Subscriber, a Notary Public for the State and County aforesaid,

Carrie Phillos, who, being by me duly sworn according to law, depose and says that she is

employed in the offices of Blakely, Gregory & Pappoulis, 1006 College Road, Suite 201, Dover,

DE 19904, and that on the above date she caused to be deposited in the mail the attached papers

addressed to:


       Michael B. Joseph, Esquire
       Bankruptcy Trustee
       824 Market Street, Suite 905
       P.O. Box 1350
       Wilmington, DE 19899

      Allen Cuff
      1100 Stoney Brook Circle
      Unit 1101
      Rehoboth Beach, DE 19971

       HSBC Bank
       P.O. Box 9
       Buffalo, NY 14240


                                            _/s/Carrie Phillos



SWORN AND SUBSCRIBED before me the day, month and year aforesaid.



                                            _/s/ Tara Blakely_
                                            Tara Blakely
